       Case 1:24-cv-03188-RC       Document 18   Filed 02/03/25   Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                    Civil Action No. 1:24-cv-3188
SERVICES,

and

DIANA ESPINOSA, in her official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.


                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
        Case 1:24-cv-03188-RC          Document 18       Filed 02/03/25      Page 2 of 4




       Plaintiff Johnson & Johnson Health Care Services Inc. (“J&J”) hereby moves for summary

judgment in this Administrative Procedure Act action against Defendants the U.S. Department of

Health and Human Services, its Acting Secretary Dorothy Fink in her official capacity, the Health

Resources and Services Administration, and its Principal Deputy Administrator Diana Espinosa in

her official capacity.1 In accordance with LCvR 7, this motion is based upon the accompanying

memorandum of points and authorities and the Administrative Record compiled by Defendants,

and is accompanied by a proposed order.

       J&J hereby requests that this Court grant its motion for summary judgment and (1) declare

that J&J may offer reduced pricing to “covered entities” eligible for the federal 340B prescription

drug program using rebates rather than discounts; (2) declare that J&J may adopt a rebate model

for offering 340B pricing to covered entities without prior approval from HRSA or the HHS

Secretary; (3) declare that HRSA’s 2024 rejection of J&J’s plan to adopt a rebate model was

unlawful; (4) vacate and set aside (a) HRSA’s letters of August 14, 2024, September 17, 2024, and

September 27, 2024 announcing its rejection of J&J’s rebate model plan, and (b) the policy

pronouncement on HRSA’s website stating that Secretarial approval is required for manufacturers

to implement 340B rebate models, AR66-AR68, AR202-AR204, AR214, AR48; (5) award J&J

reasonable attorneys’ fees and costs; and (6) grant such other and further relief as the Court may

deem appropriate.




1
 Pursuant to Federal Rule of Civil Procedure 25(d), J&J has substituted the successors of the
named public officer defendants in the case caption.


                                                1
      Case 1:24-cv-03188-RC   Document 18    Filed 02/03/25    Page 3 of 4




DATED: February 3, 2025


                                   Respectfully submitted,

                                   /s/ Jeffrey L. Handwerker
                                   Jeffrey L. Handwerker (D.C. Bar No. 451913)
                                   jeffrey.handwerker@arnoldporter.com
                                   Samuel I. Ferenc (D.C. Bar No. 1616595)
                                   sam.ferenc@arnoldporter.com
                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   601 Massachusetts Ave., NW
                                   Washington, DC 20001-3743
                                   Tel: (202) 942-5000

                                   Paula R. Ramer (admitted pro hac vice)
                                   paula.ramer@arnoldporter.com
                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                   250 West 55th Street
                                   New York, NY 10019-9710
                                   Tel: (212) 836-8000

                                   Counsel for Plaintiff Johnson & Johnson Health
                                   Care Systems Inc.




                                     2
        Case 1:24-cv-03188-RC           Document 18         Filed 02/03/25    Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I certify that on February 3, 2025, I filed the foregoing with the Clerk of the Court using

the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




                                                    3
